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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                         )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        )   C.A. No. 22-1466 (MN)
                                                 )
TESLA, INC.,                                     )
                                                 )
                      Defendant.                 )

                                   NOTICE OF SERVICE

       The undersigned hereby certifies that copies of: (1) Tesla’s 3rd Supplemental Responses

and Objections to Plaintiff’s First Set of Requests for the Production of Documents and Things

(Nos. 14, 15, 26, 38, 42, 44, 46, 47, 49, 54, 59, 62, 67, 69, 74, and 78); and (2) Tesla’s 4th

Supplemental Responses and Objections to Plaintiff’s First Set of Interrogatories (No. 1) were

caused to be served on September 8, 2023, upon the following in the manner indicated:

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September 8, 2023




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 8, 2023, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

September 8, 2023, upon the following in the manner indicated:

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